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                              UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF CONNECTICUT
                                    BRIDGEPORT DIVISION

--------------------------------------------------------------x
                                                              :
In re:                                                        : Chapter 11
                                                              :
                                                                Case No. 22-50073 (JAM)
HO WAN KWOK, et al.,                                          :
                                                              : Jointly Administered
                  Debtors.1                                   :
                                                              : Re: ECCF No. 3188
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    ORDER GRANTING FIRST INTERIM FEE APPLICATION OF UK BARRISTERS
     FOR COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR PERIOD
             FROM JANUARY 24, 2023 THROUGH JANUARY 9, 2024

           Paul Wright and Peter Shaw KC (together, the “Applicants”) as barristers in the United

Kingdom to the Trustee2 for interim allowance of compensation and reimbursement of expenses

from January 1, 2023 through February 29, 2024; and sufficient notice having been given; and a

hearing having been held on June 18, 2024 and due consideration having been given to any

responses thereto; and sufficient cause having been shown therefor, it is hereby:

         1.       ORDERED that, pursuant to 11 U.S.C. §§ 330 and 331, the Application is

granted and compensation in the amount of£6,905.00 is awarded to the Applicants, subject to

final adjustment and disgorgement in the event all administrative expenses are not paid in full;

it is further

         2.       ORDERED that nothing herein modified the Retention Order; it is further



1
     The Debtors in these chapter 11 cases are Ho Wan Kwok (also known as Guo Wengui, Miles Guo, and Miles
     Kwok, as well as numerous other aliases) (last four digits of tax identification number: 9595), Genever
     Holdings LLC (last four digits of tax identification number: 8202) and Genever Holdings Corporation. The
     mailing address for the Trustee, Genever Holdings LLC, and Genever Holdings Corporation is Paul Hastings
     LLP, 200 Park Avenue, New York, NY 10166 c/o Luc A. Despins, as Trustee for the Estate of Ho Wan Kwok
     (solely for purposes of notices and communications).
2
     Capitalized terms not otherwise defined herein adopt the definitions set forth in the Application.



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       3.      ORDERED that the estate is authorized and directed to pay the Applicants’ fees

in the amount of £6,905.00, within fourteen days of the date of this Order; it is further

       4.      ORDERED that this Court shall retain jurisdiction to hear and determine all

matters arising from the implementation of this Order; it is further

       5.      ORDERED that the Debtors’ estates and the Applicants are authorized and

empowered to take all necessary actions to implement the relief granted in this Order; it is further

       6.      ORDERED that notwithstanding the possible applicability of Bankruptcy Rules

6006(d), 7062, 9014, or otherwise, the terms and conditions of this Order shall be immediately

effective and enforceable upon its entry; and it is further

       7.      ORDERED that all time periods set forth in this Order shall be calculated in

accordance with Bankruptcy Rule 9006(a).


                              Dated at Bridgeport, Connecticut this 18th day of June, 2024.

                                                                            Juli      'L'Mr   IN1.ning_
                                                                       '/J11ite,{ S             ptcy Judge
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